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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Walter W. Cartwright, III,          )
                                    )
            Plaintiff,              )     ORDER ADOPTING REPORT
                                    )     AND RECOMMENDATION
      vs.                           )
                                    )     Case No. 1:22-cv-025
Dave Krabbenhoft, et. al.,          )
                                    )
            Defendants.             )
______________________________________________________________________________

       The Plaintiff, an inmate at the North Dakota State Penitentiary, initiated this pro se civil

rights action on February 11, 2022. See Doc. No. 1. The complaint was filed on February 22, 2022.

See Doc. No. 10. A motion for a temporary restraining order and preliminary injunction was filed

on February 17, 2022. See Doc. No. 6. After screening the amended complaint as required by 28

U.S.C. § 1915A, Magistrate Judge Clare R. Hochhalter issued a Report and Recommendation on

May 2, 2022, in which he recommended that most of the claims be dismissed. See Doc. No. 18. A

second Report and Recommendation was issued on May 2, 2022, and recommended that the motion

for a temporary restraining order be denied. See Doc. No. 19. The Plaintiff was given until May 20,

2022, to file objections to the Report and Recommendations. On May 19, 2022, the Plaintiff filed

an objection. See Doc. No. 26.

       The Court has carefully reviewed both of the Reports and Recommendations, the relevant

case law, the Plaintiff’s objection, and the entire record, and finds the Reports and Recommendations

to be persuasive. The Court finds the Plaintiff’s objection unpersuasive. Claims One, Two, and

Three fail as a matter of law. Based upon a liberal construction of the complaint, the Court will

allow claim four to go forward. The official capacity claims fail, as does the claim against Molly

Goebel.
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      The Court ADOPTS the Reports and Recommendations (Doc. Nos. 18 and 19) in their

entirety and ORDERS as follows:

      1)     Claim Nos. 1, 2, and 3 are DISMISSED WITH PREJUDICE.

      2)     The claim for damages against the Defendants in their official capacities are

             DISMISSED WITH PREJUDICE.

      3)     The claim against Molly Goebel is DISMISSED WITH PREJUDICE.

      4)     The Plaintiff is permitted at this stage to proceed with Claim No. 4.

      5)     The Plaintiff’s motion for a temporary restraining order (Doc. No. 6) is DENIED.

      6)     The Clerk of the District Court is directed to effectuate service of the complaint

             (Doc. No. 10) on the named Defendants along with a copy of the court’s screening

             order making clear what claim(s) the Plaintiff is permitted to proceed with.

      IT IS SO ORDERED.

      Dated this 24th day of June, 2022.

                                           /s/ Daniel L. Hovland
                                           Daniel L. Hovland, District Judge
                                           United States District Court




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